955 F.2d 43
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Reginald WILLIAMS, Petitioner-Appellant,v.STATE OF SOUTH CAROLINA;  T. Travis Medlock, AttorneyGeneral of South Carolina, Respondents-Appellees.
    No. 91-7675.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 16, 1991.Decided Feb. 24, 1992.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.   Clyde H. Hamilton, District Judge.  (CA-89-372)
      Reginald Williams, appellant pro se.
      Salley Wood Elliott, Assistant Attorney General, Columbia, S.C., for appellees.
      D.S.C.
      DISMISSED.
      Before PHILLIPS, WILKINSON and WILKINS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Reginald Williams noted this appeal outside the thirty-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional thirty-day period provided by Fed.R.App.P. 4(a)(5).   The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).   Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.   We therefore deny a certificate of probable cause to appeal and dismiss the appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    